Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 1 of 24




                 EXHIBIT 18
UNREDACTED VERSION
   OF DOCUMENT
SOUGHT TO BE SEALED
                                  Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 2 of 24


    Velodyne·                           MPI, LASER FIBER ATTACH & ALIGNMENT,
                                                   VLP-16 & HDL32E
                                                                                                        M Pl # : 70-0303
    Product Line: HDL32E/VLP-16                MANUFACTURING PROCESS INSTRUCTIONS                     Rev:     A   Page: 1 of 23

     Engineering Change History
          ECO            REV                   DESCRIPTION OF CHANGE                    AUTHOR               REQUESTOR                 DATE
                                                                                                                Alen
        002119            A    RELEASE TO PRODUCTION                                    R. Balderas          Mekertichian            04/05/17
                     I




                                                                                                                                           1963
I

                                                                                                                            EXHIBIT
                                                                                                                        Witness:
                                                                                                                        STEPHEN NESTINGER
    FORM #: 66-0119, Rev. E                                                                                             Date: 08.23.2017
                                                                                                                             Svsan   MmeCSR No. 11661
                           Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 3 of 24


Velodyne·                        MPI, LASER FIBER ATTACH & ALIGNMENT,
                                            VLP-16 & HDL32E
                                                                                            MPI # : 70-0303
Product Line: HDL32E/VLP-16             MANUFACTURING PROCESS INSTRUCTIONS                Rev:   A   Page: 2 of 23




FORM #: 66-01 19, Rev. E
                                     Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 4 of 24


Velodyne·                                  MPI, LASER FIBER ATTACH & ALIGNMENT,
                                                      VLP-16 & HDL32E
                                                                                                             M Pl # : 70-0303
Product Line: HDL32E/VLP-16                       MANUFACTURING PROCESS INSTRUCTIONS                       Rev:   A    Page: 3 of 23




                             PART LIST
Item#       PIN               Item Descri tion                    UM   Q
                                                                                     Q1tem       Owork       e    verify    ~   TQC

  1       NIA              MONITOR                                EA       3   Operation: Tools Required




FORM #: 66-0 119, Rev. E
                                   Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 5 of 24


Velodyne·                                   MPI, LASER FIBER ATTACH & ALIGNMENT,
                                                       VLP-16 & HDL32E
                                                                                                          MPI # : 70-0303
Product line: HDL32E/VLP-16                        MANUFACTURING PROCESS INSTRUCTIONS                   Rev:    A   Page: 4 of 23




                                                                                                                              ~D
                                                                                                                               OPTICAL
                                                                                                                              ADHESIVE

                                                                                                                                 68
                                                                                                                                 LOT oo,
                                                                                                                              DI,. P'H r, ao11
                                                                                                                             ~ r , , 1--c u1
                                                                                                                              e a . . ~.~




                             PART LIST
Item#       P/N               Item Oescri tion                    UM   Qt
                                                                                  Q1tem       O work      -    Verify    ~      TQC
  1      NIA              AIR HOSE w/ FILTER AND DEIONIZER        EA    1   Operation: Tools Required
  2      NIA              ESD STRAP                               EA    1
  3      NIA              UV LIGHT SYSTEM                         EA    1
  4      NIA              LASER BOARD TRAY                        EA    1
  5      NIA              MICROSCOPE                              EA    1
  6      91-0031          UV SAFETY GLASSES                       EA    1
  7      49-0064          OPTICAL ADHESIVE                        EA    1

FORM #: 66-0119, Rev. E
                                      Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 6 of 24

                                                 MPI, LASER FIBER ATTACH & ALIGNMENT,
Velodyne·                                                   VLP-16 & HDL32E
                                                                                                                              MPI # : 70-0303
Product Line: HDL32E/VLP-16                           MANUFACTURING PROCESS INSTRUCTIONS                              Rev:                        A                Page: 5 of 23




                                                                                                   r        ~- -5
                                                                                                            KIMTEQ:!
                                                                                                           G3
                                                                                                                                                                      0

                                                                                                                                                                                    e
                                                                                                           NxT Nitrile Gloves
                                                                                                            ______
                                                                                                           .12"
                                                                                                              ..All81         ....
                                                                                                                    0U TAOOS I 5 m
                                                                                                                        ,..__.....,,,.
                                                                                                                ,-0..-._1..,.     _          )0




                                                                                                           .·~--...,_,,..,.
                                                                                                           •  •,......,,_~~•r-..:t1o~

                                                                                                                             ......
                                                                                                           S) . . . . . .. . . . . . , _ .... _ _ . . . _ . , . _ . , . . . , . ~
                                                                                                           eo..•..._ . - ~ . , . . , ...
                                                                                                           -~
                                                                                                           ...
                                                                                                                      ......._..       ...... ,...,t..e,~J•

                                                                                                                                       ••fll•~_t••i...-
                                                                                                                                           i!,;OJel'l"/V..-jj4 1




                              PART LIST
Item#       P/N                 Item Descri tion                     UM   Qt
                                                                                     Q1tem       O work                        -               Verify                               ~   TQC
  1      NIA              VIDEO CAMERA                               EA    1   Operation: Tools Required
  2      NIA              HITACHI CAMERA                             EA    1

  3      NIA              AXIS ALIGNMENT FIXTURE                     EA    1

  4      NIA              ADJUSTMENT RAIL                            EA
  5      53-59303         I 00um Optical Fiber                       EA
  6      NIA              LASER POWER SUPPLY                         EA
  7      95-0042          GLOVES, ANTISTATIC NITRILE                 PR    1

FORM #: 66-0119, Rev. E
                                    Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 7 of 24


Velodyne·                                  MPI, LASER FIBER ATTACH & ALIGNMENT,
                                                      VLP-16 & HDL32E
                                                                                                            MPI #: 70-0303
Product Line: HDL32E/VLP-16                        MANUFACTURING PROCESS INSTRUCTIONS                     Rev:        A   Page: 6 of 23




                                                                                                                 5
                                                                                                                              0




                             PART LIST
Item#       P/N               Item Descri tion                      UM   Qt
                                                                                    Q1tem       O work      e        verify    ~   TQC

  1      98-0001          ALCOHOL, ISOPROPYL, 99.8%                 EA    1   Operation: Tools Required
  2      9 1-0004         W IRE CUTTER                              EA    1

  3      91-00 12         TWEEZER                                   EA    1
  4      95-13701         BRUSH                                     EA    1
  5      95-0051          SWAB, CLEANROOM, POLYESTER, 0.0394" TIP   BG    1

  6      NIA              APPLICATION ADHESIVE TOOL                 EA    1




FORM #: 66-0119, Rev. E
                                    Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 8 of 24


Velodyne·                                         MPI, LASER FIBER ATTACH & ALIGNMENT,
                                                             VLP-16 & HDL32E
                                                                                                                                    M Pl # : 70-0303
Product Line: HDL32E/VLP-16                            MANUFACTURING PROCESS INSTRUCTIONS                                         Rev:    A   Page: 7 of 23

                                          -~·..
                                                                     .·i--'G I I
                                                                                                                                 -
                                                  '




                               Ill                           i           I  I   I    I
                                                                      - 7- -+ - +- -f--

                               -
                                                                 I                                           1
                                          \                                                                   I
                                          I
                                                         I   't         I         I           I       I      I
                                                                      -+-+ -+--t-
                                                                                                                                 -
                                          !                                                                  !
                                                        \
                                                                        1         I           I       1.     °'
                                                                      _-t-_1
                                                                        I  I -+I --r-,
                                                                                  I        I
                                                                            -_..___ -     -.-




                              PART LIST
Item#        P/N               Item Descri t lon                            UM        Q
                                                                                                           Q1tem      O work        e    verify     ~   TQC

          NI A             LASER BOARD TRAY                                  EA           1       Operation: Laser Tray

                                                                                                  Attention: ESD Strapping and Nitrile Gloves is to be warned
                                                                                                  at all times during build.

                                                                                                  1. Please note location designation for each slot in tray as
                                                                                                     indicated in photo.




FORM #: 66-01 19, Rev, E
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 9 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 10 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 11 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 12 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 13 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 14 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 15 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 16 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 17 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 18 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 19 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 20 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 21 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 22 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 23 of 24
Case 3:17-cv-00939-WHA Document 2690-7 Filed 01/28/19 Page 24 of 24
